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                                                                         U.S. DISTRICT COURT
                        UNITED STATES DISTRICT COURT                        CRUNS V' K OIV.
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 RRTiNSiwirkr DIVISION
                                 BRUNSWICK    nrvTSTHN                   /01§ t'OV 28 AM !!• ^10

 UNITED STATES OF AMERICA                                               CLERK
                                                    CR218-14
                                                                        SO. DiST.
        V.



DARRIUS MERRELL



                                         ORDER


       The Defendant has filed a motion for an Extension of Time to File Objections to The

Presentence Report (Dkt. 505). After careful consideration, the Motion is GRANTED. The

Defendant has until Friday, December 14, 2018 to file Objections to the Presentence Report.



        So ORDERED, this                             ember, 2018.




                                   OR/)©LE LISt^jODBEY^OOD
                                        STATES DISTRICT COURT
                                           DISTRICT OF GEORGIA
